                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF TENNESSEE
                               AT KNOXVILLE
______________________________________________________________________________

KATHLEEN HELLE                       )
                                    )
      Plaintiff,                     )
                                    )
      v.                            )               Civil Action No. ________________
                                    )
INTERNATIONAL COLLECTION             )
AGENCY, L. L. C., and KEN DOE,       )
                                    )               Jury Trial Demanded
                  Defendants.        )
                                     )
____________________________________                         _____________________________

                                        COMPLAINT


                               JURISDICTION AND VENUE

1.    Jurisdiction of this Court arises under 28 U.S.C. § 1331 and pursuant to 15 U.S.C. §

      1692k(d).

2.    This action arises out of Defendants’ violations of the Fair Debt Collection Practices Act, 15

      U.S.C. §§ 1692 et seq. (“FDCPA”), in their illegal efforts to collect a consumer debt from

      Plaintiff.

3.    Venue is proper in this District because the acts and transactions occurred here and Plaintiff

      resides here.

                                             PARTIES

4.    Plaintiff Kathleen Helle (hereinafter “Plaintiff”) is a natural person who resides in Knox

      County, Tennessee, and a “consumer” as that term is defined by 15 U.S.C. § 1692a(3).

5.    Defendants International Collection Agency, L.L.C. (hereinafter “Defendant ICA”) is a

      “debt collector” as that term is defined by 15 U.S.C. § 1692a(6), and for-profit limited



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      liability company organized in Florida, and may be served through its agent for service of

      process in Tennessee, which is CT Corporation System, 800 S. Gay Street, Suite 2021,

      Knoxville, TN 37929.

6.    Defendant Ken Doe (hereinafter “Defendant Ken Doe”) is a natural person who is employed

      by Defendant ICA as a collection agent and is a “debt collector” as that term is defined by

      15 U.S.C. § 1692a(6), but who cannot presently be served until his true identity is

      determined.

                                     FACTUAL ALLEGATIONS

7.    Defendants have alleged that Plaintiff incurred an obligation to pay money arising out of

      a transaction in which the money, property, insurance or services which are the subject of

      the transaction are primarily for personal, family or household purposes, and is therefore

      a “debt” as that term is defined by 15 U.S.C. § 1692a(5), namely, a debt on a time-share

      mortgage allegedly owned and/or serviced by Westgate Resorts, Ltd. (hereinafter

      “Westgate Resorts”).

8.    Sometime prior to October 29, 2010, Plaintiff’s debt was transferred to Defendants for

      collection from Plaintiff.

9.    Defendant ICA failed to maintain (i.e., actually employ or implement) any procedures

      reasonably adapted to avoid errors or omissions under the FDCPA during the attempted

      collection of the debt from Plaintiff.

                               October 29, 2010 Collection Letter

10.   On or about October 29, 2010, Defendant ICA sent Plaintiff a collection letter dated

      October 29, 2010. A redacted copy of the October 29, 2010 collection letter is filed as

      Exhibit 1 to this Complaint.




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11.   The October 29, 2010 collection letter was sent in connection with collection of the debt

      and in an attempt to collect the debt, and is a communication as defined by 15 U.S.C. §

      1692a(2).

12.   The Plaintiff received the October 29, 2010 collection letter from Defendant ICA no

      earlier than November 1, 2010.

13.   The October 29, 2010 collection letter was printed on the letterhead of Defendant ICA

      and stated that (a) amount due on the debt was $1,105.06 and (b) the creditor to whom

      the debt is owed was Capital Source 2009 – 1 Receivables (hereinafter referred to as

      “Capital Source”). (underline added)

14.   The October 29, 2010 collection letter further stated that:

             “THIS HAS BEEN SENT TO YOU BY A COLLECTION AGENCY”

             ...

             Your file has been submitted to this agency for collection.

             The events leading to this situation gave you ample consideration and
             opportunity to make voluntary arrangements for payment of our client.
             Please do not contact our client regarding this debt until the amount has
             been satisfied in full.

             Unless you notify this agency within 30 days after receiving this notice
             that you dispute the validity of this debt or any portion therefore, this
             agency will assume this debt is valid. If you notify this agency in
             writing within 30 days from receiving this notice, this agency will
             obtain verification of the debt, or obtain a copy of a judgment against
             you and mail a copy of such judgment or verification. If you request
             of this agency in writing within 30 days after receiving this
             notification, this agency will provide you with the name and address
             of the original creditor, if different from the current creditor.
             This is an attempt to collect a debt by a debt collector. Any information
             obtained will be used for that purpose.

             Please govern yourself accordingly.

             ...



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             This is a communication from a debt collector. International Collection
             Agency, LLC is attempting to collect a debt on behalf of Capital Source
             2009 – 1 Receivables and any information will be used for that purpose.”

             (bold and all capital letters in original)

                              November 22, 2010 Collection Call

15.   The October 29, 2010 collector letter was the “initial communication” by Defendant ICA

      with Plaintiff in connection with collection of the debt.

16.   Within a year prior to the filing of this Complaint, on or about November 22, 2010, upon

      information and belief, Defendant ICA made a collection call to Plaintiff’s cell phone,

      which showed up on her caller ID as “UNAVAILABLE”.

17.   When Plaintiff first answered the November 22, 2010 collection call, there was a 3 to 4

      second time period when Plaintiff heard no sound at all, after which she heard a very loud

      connection, and then a male debt collector, who identified himself only as “Ken from

      Orlando” (hereinafter referred to as “Defendant Ken Doe”), came on the line.

18.   The November 22, 2010 collection call was made in connection with collection of a debt

      and in an attempt to collect a debt, and is a “communication” as that term is defined by

      15 U.S.C. § 1692a(2).

19.   During the November 22, 2010 collection call, Defendant Ken Doe stated that he was

      trying to collect a debt for Westgate Resorts.

20.   During the November 22, 2010 collection call, Plaintiff asked Defendant Ken Doe how

      he obtained her cell phone number, and he replied that he received the phone number

      from Defendant ICA.




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21.   During the November 22, 2010 collection call, Plaintiff asked Defendant Ken Doe not to

      call her again on her cell phone, and he replied that he was trying to obtain information

      and that the phone call may be recorded.

22.   During the November 22, 2010 collection call, Defendant Ken Doe stated that the

      purpose of the call was to assist the Plaintiff and not to harass her.

23.   During the November 22, 2010 collection call, Plaintiff told Defendant Ken Doe that any

      request for information he needed should be placed in writing and mailed to her.

24.   During the November 22, 2010 collection call, Plaintiff stated that she had contacted

      Westgate Resorts and they were unwilling to assist her in any way, either to remove her

      liability on the contract or lower the interest rate.

25.   During the November 22, 2010 collection call, Defendant Ken Doe asked Plaintiff is she

      was not aware of the interest rate when she signed the contract.

26.   During the November 22, 2010 collection call, Plaintiff stated that she called Westgate

      Resorts within 30 days after signing the contract to request that she be removed from all

      liability for the contract, thus disputing that she owed the debt.

27.   During the November 22, 2010 collection call, Defendant Ken Doe stated that Plaintiff

      was required to call within 10 days to be removed from any liability under the contract.

28.   During the November 22, 2010 collection call, Defendant Ken Doe stated that Plaintiff

      could call Westgate Resorts and get a copy of the contract for a fee of $10.00.

29.   During the November 22, 2010 collection call, Defendant Ken Doe informed Plaintiff

      that there were other ways to pay the amount and that she was in arrears.




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30.   During the November 22, 2010 collection call, Defendant Ken Doe suggested that

      Plaintiff use a lower interest credit card or refinance to pay the debt, and Plaintiff replied

      that she did not have any credit cards and she was unable to refinance.

31.   During the November 22, 2010 collection call, Plaintiff told Defendant Ken Doe that she

      would either contact Westgate Resorts or contact an attorney to get the matter resolved,

      and Defendant Ken Doe replied that she should do that.

32.   During the November 22, 2010 collection call, Defendant Ken Doe verified Plaintiff’s

      address and attempted to verify her phone number.

33.   During the November 22, 2010 collection call, Plaintiff repeated to Defendant Ken Doe

      that she did not want anyone contacting her on her cell phone and that they could send

      anything they wanted to by mail.

34.   During the November 22, 2010 collection call, Defendant Ken Doe stated that the phone

      calls would continue until the matter was resolved and that she must place her request

      that she not be contacted on her cell phone in writing.

35.   The November 22, 2010 collection call by Defendant Johnson was a subsequent

      communication from Defendants to Plaintiff in connection with the collection of the debt.

36.   During the November 22, 2010 collection call, Defendant Ken Doe failed to make a

      meaningful disclosure of his identity or the identity of his employer, in violation of 15

      U.S.C. § 1692d(6).

37.   The FDCPA states: “Without the prior consent of the consumer given directly to the debt

      collector . . . a debt collector may not communicate with a consumer in connection with

      the collection of any debt – (1) at any unusual time or place or a place known or which

      should be known to be inconvenient to the consumer.” 15 U.S.C. § 1692c(a)(1).




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38.   The statement by Defendant Ken Doe in the November 22, 2010 collection call that

      Plaintiff must place her request that she not be contacted on her cell phone in writing,

      after Plaintiff had not told him to place any request for information in writing to her and

      twice placed him on notice that collection calls should not be made to her cell phone,

      which contact the Plaintiff considered inconvenient, was a false, deceptive, and

      misleading representation in connection with collection of the debt, in violation of 15

      U.S.C. § 1692e, the use of any false representation or deceptive means to collect or

      attempt to collect the debt, in violation of 15 U.S.C. § 1692e(10), and the use of an unfair

      means to collect or attempt to collect the debt, in violation of 15 U.S.C. § 1692f.

                              November 29, 2010 Collection Letter

39.   The October 29, 2010 collector letter was the “initial communication” by Defendant ICA

      with Plaintiff in connection with collection of the debt.

40.   The October 29, 2010 collection letter stated that the creditor for the debt was Capital

      Source and the amount due on the debt was $1,105.06.

41.   On or about November 29, 2010, Defendant ICA sent Plaintiff correspondence including

      a collection letter dated November 29, 2010. A redacted copy of the November 29, 2010

      collection letter is filed as Exhibit 2 to this Complaint.

42.   The November 29, 2010 collection letter was sent in connection with collection of the

      debt and in an attempt to collect the debt, and is a communication as defined by 15

      U.S.C. § 1692a(2).

43.   The November 29, 2010 collection letter was a subsequent communication sent by

      Defendant ICA in connection with collection of the debt.




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44.   The November 29, 2010 collection letter was sent to Plaintiff less than 30 days after

      Plaintiff had received the October 29, 2010 collection letter.

45.   The November 29, 2010 collection letter was printed on the letterhead of Defendant ICA

      and stated that (a) amount due on the debt was $1,481.75 and (b) the creditor to whom

      the debt is owed was Westgate Resorts. (underline added)

46.   The November 29, 2010 collection letter also stated:

             “THIS HAS BEEN SENT TO YOU BY A COLLECTION AGENCY”
                         Your immediate response is requested

             ...

             Previously, you received notification of our required obligation to allow
             you to dispute the above-reference amount due. As of this date, you have
             failed to respond. It is imperative that we resolve this matter to avoid
             further collection efforts.

             Regardless of what you might believe, we have a more reasonable
             alternative for you. Please contact us immediately to discuss your options.

             ...

             This is an attempt to collect a debt by a debt collector. International
             Collection Agency, LLC is attempting to collect a debt on behalf of
             Westgate Resorts. Any information will be used for that purpose.”

             (bold and all capital letters in original)

                      Failure to Correctly State the Amount of the Debt
                      Within Five Days After the Initial Communication

47.   The October 29, 2010 collection letter showed an amount due of $1,105.86 and failed to

      indicate whether the “Amount Due” of $1,105.06 would continue to accrue interest in the

      interim if no payments were made on the debt, and, if so, the applicable interest rate at

      which it would accrue.




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48.   Within five (5) days after the October 29, 2010 initial communication was sent by

      Defendant ICA to Plaintiff, the Plaintiff had not paid the debt.

49.   Within five (5) days after the October 29, 2010 initial communication was sent by

      Defendant ICA to Plaintiff, Defendant ICA had not sent Plaintiff a written notice

      containing the correct amount of the debt.

50.   Any procedures maintained (i.e., actually employed or implemented) by Defendants to

      avoid errors under the FDCPA were not reasonably adapted to avoid failing to send

      Plaintiff a written notice containing the amount of the debt within five days after the

      initial communication.

51.   By failing to send Plaintiff a written notice containing the amount of the debt within five

      days after the initial communication with Plaintiff, Defendants failed to state the amount

      of the debt in violation of 15 U.S.C. § 1692g(a)(1).

52.   By failing to state the total amount due, including interest and other charges, in the

      October 29, 2010 collection letter, Defendants made a false and misleading

      representation in violation of 15 U.S.C. § 1692e(2)(A), and the false representation of the

      character, amount or legal status of the debt is the use of a false, deceptive, and misleading

      representation or means in connection with collection of the debt to collect or attempt to

      collect the debt, in violation of 15 U.S.C. §§ 1692e and 1692e(10), and an unfair means to

      collect or attempt to collect the alleged debt in violation of 15 U.S.C. § 1692f.

               Failure to Correctly State the Name of the Creditor to Whom the
               Debt is Owed Within Five Days After the Initial Communication

53.   The name of the creditor to whom the debt was allegedly owed was not Capital Source.

54.   Defendant ICA Inc.’s October 29, 2010 initial communication stated that it was

      attempting to collect the debt on behalf of Capital Source



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 55.   Defendant ICA Inc.’s October 29, 2010 initial communication failed to identify the

       correct name of the creditor to whom the debt was owed.

 56.   Within five (5) days after the October 29, 2010 initial communication was sent by

       Defendant ICA to Plaintiff, the Plaintiff had not paid the debt.

 57.   Within five (5) days after the October 29, 2010 initial communication was sent by

       Defendant ICA to Plaintiff, the Defendants had not sent Plaintiff a written notice

       containing the correct name of the creditor to whom the debt was owed.

 58.   Any procedures maintained (i.e., actually employed or implemented) by Defendants to

       avoid errors under the FDCPA were not reasonably adapted to avoid failing to identify or

       misidentifying the name of the creditor to whom the debt is owed within five days after

       the initial communication in connection with collection of the debt.

 59.   By failing to provide Plaintiff the name of the creditor to whom the debt is owed within

       five days after the initial communication, Defendants violated 15 U.S.C. § 1692g(a)(2).

                       Failure to Effectively Convey the Validation Notice

 60.   The language in the November 29, 2010 collection letter, including, “Previously, you

       received notification of our required obligation to allow you to dispute the above-

       reference amount due. As of this date, you have failed to respond. It is imperative that

       we resolve this matter to avoid further collection efforts”, which was sent by Defendant

       ICA within the 30-day period after receipt by Plaintiff of the October 29, 2010 initial

       communication which provided the Plaintiff notice of her right to dispute and request

       verification of the debt, advanced a threat of legal action, and when combined with two

       collection letters that included different amounts of debt and different creditors owed




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       failed to effectively convey the Plaintiff’s validation notice, in violation of 15 U.S.C. §

       1692g(a).

 61.   Any procedures maintained (i.e., actually employed or implemented) by Defendant ICA

       to avoid errors under the FDCPA were not reasonably adapted to avoid making a threat

       of legal action in a separate collection letter sent within the 30-day time period provided

       in the initial written communication which provided Plaintiff’s validation notice.

 62.   The language in the November 29, 2010 collection letter, including, “Previously, you

       received notification of our required obligation to allow you to dispute the above-

       reference amount due. As of this date, you have failed to respond. It is imperative that

       we resolve this matter to avoid further collection efforts”, which was sent by Defendant

       ICA within the 30-day period after receipt by Plaintiff of the October 29, 2010 initial

       communication which provided the Plaintiff notice of her right to dispute and request

       verification of the debt, would make the least sophisticated consumer confused and/or

       uncertain as to her rights to dispute and obtain verification of the debt, in violation of 15

       U.S.C. §§ 1692e and 1692e(10), and both overshadowed and was inconsistent with the

       Plaintiff’s right to dispute the debt within the 30-day period, in violation of 15 U.S.C. §

       1692g(b).

 63.   Any procedures maintained (i.e., actually employed or implemented) by Defendant ICA

       to avoid errors under the FDCPA were not reasonably adapted to avoid making the least

       sophisticated consumer confused and/or uncertain as to her rights to dispute and obtain

       verification of the debt or to request the name and address of the original creditor, within

       the 30-day time periods provided under 15 U.S.C. § 1692g(a).




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 64.   Any procedures maintained (i.e., actually employed or implemented) by Defendant ICA

       to avoid errors under the FDCPA were not reasonably adapted to avoid sending out

       collection letters that both overshadowed and were inconsistent with the Plaintiff’s rights

       to dispute and obtain verification of the debt or to request the name and address of the

       original creditor, within the 30-day time periods provided under 15 U.S.C. § 1692g(a).

                               February 24, 2011 Collection Letter

 65.   On or about February 24, 2011, Defendant ICA sent Plaintiff correspondence including a

       collection letter dated February 24, 2011. A redacted copy of the February 24, 2011

       collection letter is filed as Exhibit 3 to this Complaint.

 66.   The February 24, 2011 collection letter was sent in connection with collection of the debt

       and in an attempt to collect the debt, and is a communication as defined by 15 U.S.C. §

       1692a(2).

 67.   The February 24, 2011 collection letter was a subsequent communication sent by

       Defendant ICA in connection with collection of the debt.

 68.   The February 24, 2011 collection letter was printed on the letterhead of Defendant ICA

       and stated that (a) amount due on the debt was $2,260.13 and (b) the creditor to whom

       the debt is owed was Westgate Resorts. (underline added)

 69.   The February 24, 2011 collection letter also stated:

               “THIS HAS BEEN SENT TO YOU BY A COLLECTION AGENCY”
                           Your immediate response is requested

               ...

               Previous attempts to resolve your obligation in the above-referenced
               amount due have not resulted in a complete resolution in curing the
               outstanding balance. It is important that we resolve this matter.

               ...



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              This is an attempt to collect a debt by a debt collector. International
              Collection Agency, LLC is attempting to collect a debt on behalf of
              Westgate Resorts. Any information will be used for that purpose.”

              (bold and all capital letters in original)

                                             Summary

 70.   The above-detailed conduct by Defendants in connection with collection of the debt was

       conduct in violation of numerous and multiple provisions of the FDCPA including, but not

       limited to the above-cited provisions of the FDCPA.

                                    Respondeat Superior Liability

 71.   In addition to their individual liability under the FDCPA, the acts and omissions of

       Defendant Ken Doe and any other debt collectors hired by Defendant ICA to collect the

       debt from Plaintiff as agents for Defendant ICA and who communicated with Plaintiff as

       more further described herein, were committed within the time and space limits of their

       agency relationship with their principal, Defendant ICA.

 72.   The acts and omissions by Defendant Ken Doe and any other debt collectors hired by

       Defendant ICA to collect the debt from Plaintiff were incidental to, or of the same general

       nature as, the responsibilities they were authorized to perform by Defendant ICA in

       collecting consumer debts.

 73.   By committing these acts and omissions against Plaintiff, Defendant Ken Doe and any other

       debt collectors hired by Defendant ICA to collect the debt from Plaintiff were motivated to

       benefit their principal, Defendant ICA.

 74.   Defendant ICA is therefore liable to Plaintiff through the Doctrine of Respondeat

       Superior for the intentional and negligent acts, errors and omissions done in violation of




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       federal law by the debt collectors employed as agents by Defendant ICA including, but not

       limited to violations of the FDCPA, in their attempts to collect the debt from Plaintiff.

                                       TRIAL BY JURY

 75.   Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const. amend.

       7. Fed.R.Civ.P. 38.

                                    CAUSES OF ACTION

                                           COUNT I.

         VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                    15 U.S.C. §§ 1692 et seq.

 76.   Plaintiff incorporates by reference all of the above paragraphs as though fully stated

       herein.

 77.   The foregoing acts and omissions of the Defendants constitutes numerous and multiple

       violations of the FDCPA including, but not limited to each and every one of the above-

       cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq., with respect to Plaintiff.

 78.   As a result of the Defendants’ violations of the FDCPA, Plaintiff is entitled to actual

       damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in an amount up to

       $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and

       costs pursuant to 15 U.S.C. § 1692k(a)(3) from the Defendants herein.




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                                       PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against the Defendants:

                                               COUNT I.

            VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                       15 U.S.C. §§ 1692 et seq.

       •     for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the

             Defendants and for Plaintiff;

       •     for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

             §1692k(a)(2)(A) against the Defendants and for Plaintiff;

       •     for an award of costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §

             1692k(a)(3) against the Defendants and for Plaintiff; and

       •     for such other and further relief as may be just and proper.

 11/03/11                                       Respectfully submitted,

                                                KATHLEEN HELLE




                                                /s/      Alan C. Lee
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